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                  UNITED STATES DISTRICT COURT
                             FOR THE
                       DISTRICT OF VERMONT

UNITED STATES OF AMERICA,         :
                                  :
           v.                     : Case No. 2:12 CR 12-4
                                  :
MELVIN HILL                       :




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                                 ORDER

        The Report and Recommendation of the United States




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Magistrate Judge was filed August 21, 2014.             After careful




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review of the file and the Magistrate Judge's Report and



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Recommendation, no objections having been filed by any party,

this Court ADOPTS the Magistrate Judge's recommendations in
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full for the reasons stated in the Report.

       A district judge must make a de novo determination of
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those portions of a magistrate judge's report and
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recommendation to which an objection is made.             Fed. R. Civ. P.
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72(b); 28 U.S.C. § 636(b) (1); Perez-Rubio v. Wyckoff, 718

F.Supp. 217, 227 (S.D.N.Y. 1989).        The district judge may
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"accept, reject, or modify, in whole or in part, the
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magistrate's proposed findings and recommendations."              Id.

      The motions to vacate (Docs. 250, 251) under 28 U.S.C. §

2255 are DENIED.

     Pursuant to Fed. R. App. P. 22(b), a certificate of

appealability is DENIED because the petitioner has failed to

make a substantial showing of denial of a federal right.

Furthermore, the petitioner’s grounds for relief do not
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present issues which are debatable among jurists of reasons,

which could have been resolved differently, or which deserve

further proceedings.     See e.g., Flieger v. Delo, 16 F.3rd 878,

882-83 (8th Cir.) cert. denied, 513 U.S. 946 (1994); Sawyer v.

Collins, 986 F.2d 1493, 1497 (5th cir.), cert. denied, 508




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U.S. 933 (1993).

     Furthermore, it is certified that any appeal taken in




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forma pauperis would not be taken in good faith, pursuant to




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28 U.S.C. § 1915(a)(3).



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        Dated at Burlington, in the District of Vermont, this

9th day of September, 2014.
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                                  /s/William K. Sessions III
                                       William K. Sessions III
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                                       U.S. District Court Judge
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